  Case 4:22-cv-00343-Y Document 113 Filed 09/05/23                Page 1 of 4 PageID 2335


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

                               §
 ROBERT (BOB) ROSS,            §
                               §
       Plaintiff/Counterclaim  §                     Civil Action No. 4:22-cv-343-Y
       Defendant,              §
                               §                     Judge Terry R. Means
 v.                            §
                               §
 ASSOCIATION OF PROFESSIONAL §
 FLIGHT ATTENDANTS, et al.,    §
                               §
       Defendants/Counterclaim
       Plaintiff.

                    MOTION TO COMPEL PRODUCTION OF DOCUMENTS IN
                       RESPONSE TO SUBPOENA ISSUED TO WOODS,
                             STEPHENS AND O’NEIL, L.L.P.

       COME NOW, Plaintiff, Robert “Bob” Ross (“Ross”), and file this, his Motion to Compel

Response to Subpoena Issued to Woods, Stephens, and O’Neil, L.L.P. (“Woods, Stephens, and

O’Neil”) and in support thereof, would respectfully show this Court as follows:

       1.      Woods, Stephens, and O’Neil objected to the Subpoena served on October 20,

2022, within the time period for compliance, and should be compelled to serve documents and

all objections overruled.

       2.      Counsel for Defendants served objections on behalf of Woods Stephens, and

O’Neil to Plaintiff’s Counsel on November 3, 2022. Original Counsel for Defendants have

subsequently withdrawn from this case and been replaced with new counsel. No confirmation

has been asserted that new Counsel does, in fact, represent Woods, Stephens, and O’Neil to date.

       3.      It has been ten (10) months since Woods, Stephens, and O’Neil was served with

the Subpoena, and yet Woods, Stephens, and O’Neil will not withdraw objections, and refuses

to produced any documents responsive of Plaintiff’s Subpoena.

                                                3
  Case 4:22-cv-00343-Y Document 113 Filed 09/05/23                   Page 2 of 4 PageID 2336


               Therefore, for the reasons set forth more fully in the incorporated Brief in

Support, Ross asks that this Court grant his Motion and overrule Defendants’ and Woods,

Stephens, and O’Neil’s objections to the Subpoena and further issue an order compelling Woods,

Stephens, and O’Neil to produce all documents responsive to Plaintiff’s Subpoena.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff request that this Court grant his

Motion to Compel Production of Documents in Response to Subpoena to Woods, Stephens, and

O’Neil L.L.P. and for such other relief as the Court deems proper.


       THIS, the 5th day of September, 2023.
                                                    Respectfully submitted,


                                                    By: /s/ Kerri Phillips                       s
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                                                    ATTORNEY FOR PLAINTIFF




                                                4
  Case 4:22-cv-00343-Y Document 113 Filed 09/05/23                  Page 3 of 4 PageID 2337


                              CERTIFICATE OF CONFERENCE
         Pursuant to Local Rule 7.1(b) I hereby certify that counsel for the movant has conferred
with Defendant in a good faith effort to resolve the issues raised herein. Plaintiff’s counsel
conferred with Defendants’ counsel on via email on August 14, 2023, August 17, 2023, August
18, 2023. A telephone call was held on August 23, 2023 wherein the concerns and objections
were discuss, in particular Plaintiff offered to limit the time frame of the Requests for Production
No. 1, 2 and 3 to overcome Defendants objections without success in appeasing him. Plaintiff’s
further conferred with Defendants on via email on August 25, 2023, August 26, 2023, and
received a response on August 30, 2023 stating documents would be produced on August 31,
2023. As of the date of filing this Motion, Plaintiffs served extremely limited responses that were
heavily redacted and only responsive to Request for Production 2, and no documents have been
received from Woods, Stephens, and O’Neil. Counsel conferred on September 1, 2023 as to the
relief requested in this instant Motion and Defendants’ counsel has replied they are opposed to
the Motion. Counsel for Diversified is unopposed.

       THIS, the 5th day of September 2023.



                                                     By: /s/ Kerri Phillips
                                                     Kerri Phillips, Esq.

                      CERTIFICATE OF SERVICE

     I hereby certify that a true and correct copy of the foregoing BRIEF IN SUPPORT OF
MOTION TO COMPEL PRODUCTION OF DOCUMENTS IN RESPONSE TO
SUBPOENA ISSUED TO WOODS, STEPHENS, O’NEIL, L.L.P. has been served in accordance
with the Federal Rules of Civil Procedure to all counsel of record identified below on this 5th day of
September, 2023.


                                                            By: /s/ Kerri Phillips                 s
                                                                   Kerri Phillips, Esq.
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                                                 5
Case 4:22-cv-00343-Y Document 113 Filed 09/05/23   Page 4 of 4 PageID 2338


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                                           6
